
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-09-073-CV



IN RE JOSEPH A. BONOLA, D.D.S., 				 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RELATORS

JOSEPH A. BONOLA, D.D.S., P.C., NCD, P.A. 

AND OPUS INDUSTRIES, INC.	



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relators’ petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relators’ petition for writ of mandamus is denied.

Relators shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL: &nbsp;MEIER, J.; CAYCE, C.J.; and MCCOY, J.



DELIVERED: &nbsp;March 16, 2009 &nbsp;&nbsp;

FOOTNOTES
1:See
 Tex. R. App. P. 
47.4.




